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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                  )
      In re:                      )                                     Chapter 11
                                  )
    YELLOW CORPORATION, et al., 1 )                                     Case No. 23-11069 (CTG)
                                  )
                  Debtors.        )                                     (Jointly Administered)
                                  )
    -  ---- ------------- )                                            Re: Docket No. 617

                       DECLARATION OF DISINTERESTEDNESS
                    OF ARMANINO LLP PURSUANT TO THE ORDER
              AUTHORIZING THE DEBTORS TO RETAIN AND COMPENSATE
           PROFESSIONALS UTILIZED IN THE ORDINARY COURSE OF BUSINESS

    I, Emily Conley, declare under penalty of perjury:

               1.   I am, as audit partner of Armanino LLP, located at 6 CityPlace Drive, Suite 900,

    St. Louis, Missouri 63141 (the "Firm").

               2.   Yellow Corporation and certain of its affiliates, as debtors and debtors in possession

    (collectively, the "Debtors"), have requested that the Firm provide audit services to the employee

    benefit plans listed below, as required by the U.S. Department of Labor, services to the Debtors,

    and the Firm has consented to provide such services.

               3.   The Firm may have performed services in the past, may currently perform services,

    and may perform services in the future in matters unrelated to these chapter 11 cases for persons

that are parties in interest in the Debtors' chapter 11 cases. The Finn does not, however, perfonn

services for any such person relating to these chapter 11 cases, or have any relationship with any




1     A complete list ofeach of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors'
      claims and �oticing agent at http�://dm5pigl l.comNellowCorporation. The locatioo of the Debtors' principal
      place ofbusmess and the Debtors service address in these chapter 11 cases is: I 1500 Outlook Street, Suite 400'
      Overland Park, Kansas 6621 I •
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